Case 2:22-cv-08909-FMO-PLA Document 182 Filed 10/24/23 Page 1 of 9 Page ID #:1709



    1   PETER B. MORRISON (SBN 230148)
        peter.morrison@skadden.com
    2   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
    3   300 South Grand Avenue, Suite 3400
        Los Angeles, California 90071
    4   Telephone: (213) 687-5000
        Facsimile: (213) 687-5600
    5
    6   Attorney for Defendants
        YUGA LABS, INC., WYLIE ARONOW, GREG SOLANO,
    7   KEREM ATALAY, ZESHAN ALI, NICOLE MUNIZ,
        JASMIN SHOEMAKER, PATRICK EHRLUND,
    8   CHRISTOPHER LYONS and GUY OSEARY
    9
   10                        UNITED STATES DISTRICT COURT
   11                      CENTRAL DISTRICT OF CALIFORNIA
   12                                 WESTERN DIVISION
   13
   14   JOHNNY JOHNSON, EZRA                  )   Case No.: 2:22-cv-08909-FMO-PLA
   15   BOEKWEG, MARIO PALOMBINI,             )
        ADAM TITCHER, JONATHAN                )   JOINT STIPULATION AND
   16   SMITH, NEAL PATEL, HIREN              )   [PROPOSED] ORDER FOR AN
   17   PATEL, and DAVID GRAND,               )   ENLARGEMENT FOR MOTION
        Individually and on Behalf of All     )   TO DISMISS BRIEFING IN
   18   Others Similarly Situated,            )   RESPONSE TO SECOND
   19                                         )   AMENDED COMPLAINT
                        Plaintiffs,           )
   20                                         )
               v.                                 Judge: Hon. Fernando M. Olguin
   21                                         )
                                                  Complaint Filed: December 8, 2022
                                              )
   22   YUGA LABS, INC., et al.,
                                              )
   23                   Defendants.           )
                                              )
   24
   25
   26
   27
   28   JOINT STIPULATION AND ORDER FOR AN ENLARGEMENT FOR
        BRIEFING IN RESPONSE TO SECOND AMENDED COMPLAINT     CASE NO. 2:22-cv-08909-FMO-PLA
Case 2:22-cv-08909-FMO-PLA Document 182 Filed 10/24/23 Page 2 of 9 Page ID #:1710



    1          Lead Plaintiffs Johnny Johnson, Ezra Boekweg and Mario Palombini and
    2   Named Plaintiffs Adam Titcher, Jonathan Smith, Neal Patel, Hiren Patel, and David
    3   Grand (collectively, “Plaintiffs”) and Defendants (i) Yuga Labs, Inc., Wylie Aronow,
    4   Greg Solano, Kerem Atalay, Zeshan Ali, Nicole Muniz, Jasmin Shoemaker, Patrick
    5   Ehrlund, Christopher Lyons and Guy Oseary (collectively, the “Yuga Labs
    6   Defendants”); (ii) MoonPay USA LLC and Ivan Soto-Wright (together, the
    7   “MoonPay Defendants”); (iii) Sotheby’s Holdings Inc. (“Sotheby’s”); and (iv) Alexis
    8   Ohanian, Amy Wu, Maaria Bajwa, Mike Winkelmann, Madonna Louise Ciccone,
    9   Paris Hilton, James Fallon, Electric Hot Dog, Inc., Universal Television, LLC, Justin
   10   Bieber, Wardell Stephen Curry II, adidas America Inc. and adidas Ventures B.V.
   11   (together with the Yuga Labs Defendants, the MoonPay Defendants and Sotheby’s,
   12   the “Stipulating Defendants”), hereby stipulate and agree as follows:
   13          WHEREAS, on December 8, 2022, Plaintiffs Adam Titcher and Adonis Real
   14   filed the initial complaint in this action (ECF No. 1);
   15          WHEREAS, on July 11, 2023, the Court appointed Ezra Boekweg, Mario
   16   Palombini, and Johnny Johnson as the Lead Plaintiffs (ECF No. 107);
   17          WHEREAS, on August 4, 2023, Plaintiffs Johnny Johnson, Ezra Boekweg,
   18   Mario Palombini and Adam Titcher filed their First Amended Class Action
   19   Complaint, which spanned 218 pages and contained 699 paragraphs; asserted 13
   20   causes of action against 29 defendants, many of whom are represented by different
   21   counsel; and added Lead Plaintiffs Johnny Johnson, Ezra Boekweg, and Mario
   22   Palombini, and Defendant Sotheby’s as parties (ECF No. 114);
   23          WHEREAS, on August 14, 2023, the Court approved the parties’ stipulation
   24   setting forth the following word limits with respect to the Stipulating Defendants’
   25   motions to dismiss the First Amended Complaint, which were proposed by the parties
   26   based on the length of the First Amended Complaint and the Stipulating Defendants’
   27   desire to coordinate the briefing of common arguments in order to streamline the
   28                                              2
        JOINT STIPULATION AND ORDER FOR AN ENLARGEMENT FOR
        BRIEFING IN RESPONSE TO SECOND AMENDED COMPLAINT          CASE NO. 2:22-cv-08909-FMO-PLA
Case 2:22-cv-08909-FMO-PLA Document 182 Filed 10/24/23 Page 3 of 9 Page ID #:1711



    1   motions to dismiss, minimize duplication, and more efficiently present issues to the
    2   Court: Yuga Labs Defendants (14,000 words); MoonPay Defendants (7,000 words);
    3   other stipulating defendants (4,500 words each) (ECF No. 125)1;
    4          WHEREAS, on September 12, 2023, all Stipulating Defendants filed their
    5   respective motions to dismiss the First Amended Class Action Complaint (ECF Nos.
    6   153, 154, 155 156, 157, 158, 159, 160, 161, 162, 164, 165, 166);
    7          WHEREAS, on September 20, 2023, Plaintiffs Johnny Johnson, Ezra
    8   Boekweg, Mario Palombini and Adam Titcher notified the Stipulating Defendants of
    9   their intention to amend the First Amended Class Action Complaint in response to
   10   the arguments made by the Stipulating Defendants’ motions to dismiss;
   11          WHEREAS, on October 3, 2023, the parties filed a Joint Stipulation and
   12   Proposed Order proposing, among other things, modified word limits in order to
   13   allow the Stipulating Defendants to address the claims set forth in the Second
   14   Amended Complaint while addressing common arguments and issues in a
   15   coordinated fashion where possible, which would streamline the motions to dismiss
   16   for the Court and result in substantially lower volume of briefing overall: Yuga Labs
   17   Defendants (15,000 words); MoonPay Defendants (7,500 words); Sotheby’s (7,500
   18   words); all other Stipulating Defendants (up to 6,000 words each) (ECF No. 177);
   19          WHEREAS, the parties’ October 3, 2023, Joint Stipulation and Proposed
   20   Order provided that the Stipulating Defendants reserved the right to seek an
   21   enlargement of their page limits based on the contents of Plaintiffs Johnny Johnson,
   22   Ezra Boekweg, Mario Palombini and Adam Titcher’s forthcoming amendments
   23   because Plaintiffs had not provided the Stipulating Defendants with a copy of the
   24   proposed amendment for review;
   25
   26
        1
   27    Sotheby’s was not a party to this stipulation, as it had not yet been properly
        served. (See ECF No. 129.)
   28                                             3
        JOINT STIPULATION AND ORDER FOR AN ENLARGEMENT FOR
        BRIEFING IN RESPONSE TO SECOND AMENDED COMPLAINT          CASE NO. 2:22-cv-08909-FMO-PLA
Case 2:22-cv-08909-FMO-PLA Document 182 Filed 10/24/23 Page 4 of 9 Page ID #:1712



    1          WHEREAS, on October 10, 2023, the Court granted in part and denied in part
    2   the parties’ stipulation and set forth the following word limits with respect to the
    3   Stipulating Defendants’ motion to dismiss the Second Amended Complaint: Yuga
    4   Labs Defendants (14,000 words); MoonPay Defendants (4,500 words); Sotheby’s
    5   (4,500 words); other Stipulating Defendants (4,500 words each) (ECF No. 178);
    6          WHEREAS, on October 17, 2023, Plaintiffs filed their Second Amended
    7   Complaint, which spans 315 pages and contains 925 paragraphs and asserted fifteen
    8   causes of action against 28 defendants (ECF No. 179);
    9          WHEREAS, the Second Amended Complaint thus added 97 pages and 226
   10   paragraphs—including two new causes of action, four additional Plaintiffs and a
   11   modified class period—signifying a more than 40% increase in pages and a more
   12   than 30% increase in paragraphs (ECF Nos. 114, 179);
   13          WHEREAS, Plaintiffs and the Stipulating Defendants agree to the following
   14   modified word limits in order to allow the Stipulating Defendants to address more
   15   fully the claims set forth in the expanded Second Amended Complaint, which is
   16   substantially larger than the First Amended Complaint, while addressing common
   17   arguments and issues in a coordinated fashion where possible for the convenience of
   18   the parties and the Court:      Yuga Labs Defendants (16,000 words); MoonPay
   19   Defendants (7,000 words); Sotheby’s (7,000 words); all other Stipulating Defendants
   20   (up to 5,500 words each);
   21          WHEREAS, Plaintiffs do not oppose the relief requested herein, provided that
   22   they are granted reciprocal relief;
   23          WHEREAS, Plaintiffs and the Stipulating Defendants agree and represent that
   24   the relief requested herein is not intended to delay the proceedings and will not
   25   prejudice any party;
   26
   27
   28                                            4
        JOINT STIPULATION AND ORDER FOR AN ENLARGEMENT FOR
        BRIEFING IN RESPONSE TO SECOND AMENDED COMPLAINT        CASE NO. 2:22-cv-08909-FMO-PLA
Case 2:22-cv-08909-FMO-PLA Document 182 Filed 10/24/23 Page 5 of 9 Page ID #:1713



    1          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
    2   and between Plaintiffs and the Stipulating Defendants, that, subject to the Court’s
    3   approval:
    4          1.    The Yuga Labs Defendants are permitted to file a consolidated opening
    5   brief of up to 16,000 words in support of a motion pursuant to Rule 12 and may
    6   incorporate arguments raised in the remaining Stipulating Defendants’ briefing to the
    7   extent indicated in accordance with this Court’s order dated October 10, 2023, by
    8   specifically referencing by page and line number the arguments they seek to
    9   incorporate. (ECF No. 178.)
   10          2.    The remaining Stipulating Defendants may join in the Yuga Labs
   11   Defendants’ brief and/or file their own individual or joint briefs addressing
   12   defendant-specific issues, provided that any such brief filed by the MoonPay
   13   Defendants is limited to 7,000 words, any such brief filed by Sotheby’s is limited to
   14   7,000 words, and any such briefs filed by other Stipulating Defendants are limited to
   15   up to 5,500 words each.
   16          3.    Plaintiffs are granted reciprocal relief, such that: Plaintiffs’ response
   17   to (i) to the Yuga Labs Defendants’ opening brief may contain up to 16,000 words;
   18   (ii) the MoonPay Defendants’ opening brief may contain up to 7,000 words;
   19   (iii) Sotheby’s opening brief may contain up to 7,000 words; and (iv) other
   20   Stipulating Defendants’ opening briefs may contain up to 5,500 words each.
   21
   22
   23
   24
   25
   26
   27
   28                                             5
        JOINT STIPULATION AND ORDER FOR AN ENLARGEMENT FOR
        BRIEFING IN RESPONSE TO SECOND AMENDED COMPLAINT         CASE NO. 2:22-cv-08909-FMO-PLA
Case 2:22-cv-08909-FMO-PLA Document 182 Filed 10/24/23 Page 6 of 9 Page ID #:1714



    1   DATED: October 24, 2023        Respectfully submitted,
    2
                                      SKADDEN, ARPS, SLATE, MEAGHER &
    3                                 FLOM LLP
    4                                 By: /s/ Peter B. Morrison_________________
                                          Peter B. Morrison
    5
                                      300 South Grand Avenue, Suite 3400
    6                                 Los Angeles, California 90071
                                      Email: peter.morrison@skadden.com
    7                                 Telephone: (213) 687-5000
                                      Facsimile: (213) 687-5600
    8
                                      Attorneys for Defendants Yuga Labs, Inc.,
    9                                 Wylie Aronow, Greg Solano, Kerem Atalay,
                                      Zeshan Ali, Nicole Muniz, Jasmin Shoemaker,
   10                                 Patrick Ehrlund, Christopher Lyons and Guy
                                      Oseary
   11
                                      I, Peter B. Morrison, attest that all other
   12                                 signatories listed, and on whose behalf this
                                      filing is also submitted, concur in the filing’s
   13                                 content and have authorized the filing.
   14
        DATED: October 24, 2023       SCOTT+SCOTT ATTORNEYS AT LAW
   15                                 LLP
   16
                                      By:/s/ John T. Jasnoch
   17                                 John T. Jasnoch
   18                                 600 W. Broadway, Suite 3300
                                      San Diego, CA 92101
   19                                 Email: jjasnoch@scott-scott.com
                                      Telephone: (619) 233-4565
   20                                 Facsimile: (619) 236-0508
                                      Lead Counsel for Plaintiffs
   21
   22
   23
   24
   25
   26
   27
   28                                           6
        JOINT STIPULATION AND ORDER FOR AN ENLARGEMENT FOR
        BRIEFING IN RESPONSE TO SECOND AMENDED COMPLAINT         CASE NO. 2:22-cv-08909-FMO-PLA
Case 2:22-cv-08909-FMO-PLA Document 182 Filed 10/24/23 Page 7 of 9 Page ID #:1715



    1                                 FENWICK & WEST LLP
    2                                 By: /s/ Jennifer C. Bretan_             ___
                                          Jennifer C. Bretan (CSB No. 233475)
    3
                                      555 California Street, 12th Floor
    4                                 San Francisco, CA 94104
                                      Telephone: 415.875.2300
    5                                 Facsimile: 415.281-1350
                                      jbretan@fenwick.com
    6
                                      Attorneys for Defendants Amy Wu, Maaria
    7                                 Bajwa, and Alexis Ohanian
    8
    9                                 COOLEY LLP
   10                                 By: /s/ Michael G. Rhodes__                    _
                                          Michael G. Rhodes (116127)
   11
                                      3 Embarcadero Center, 20th Fl.
   12                                 San Francisco, CA 94111
                                      Tel.: 415-693-2000
   13                                 Fax: 415-693-2222
                                      rhodesmg@cooley.com
   14
                                      Attorneys for Defendants Mike Winkelmann,
   15                                 Justin Bieber and Madonna Louise Ciccone
   16
   17                                 QUINN EMANUEL URQUHART &
                                      SULLIVAN, LLP
   18
                                      By: /s/ Shon Morgan                           __
   19                                     Shon Morgan
   20                                 865 South Figueroa Street, 10th Floor
                                      Los Angeles, California 90017-2543
   21                                 shonmorgan@quinnemanuel.com
                                      Tel. 213-443-3000
   22
                                      Kevin P.B. Johnson
   23                                 555 Twin Dolphin Dr., 5th Floor
                                      Redwood Shores, California 94065
   24                                 kevinjohnson@quinnemanuel.com
                                      Tel. 650-801-5000
   25
                                      Attorneys for Defendant Paris Hilton
   26
   27
   28                                           7
        JOINT STIPULATION AND ORDER FOR AN ENLARGEMENT FOR
        BRIEFING IN RESPONSE TO SECOND AMENDED COMPLAINT       CASE NO. 2:22-cv-08909-FMO-PLA
Case 2:22-cv-08909-FMO-PLA Document 182 Filed 10/24/23 Page 8 of 9 Page ID #:1716



    1                                 DAVIS POLK & WARDWELL LLP
    2                                 By: /s/ Neil A. Potischman                       _
                                          Neal A. Potischman
    3
                                          1600 El Camino Real
    4                                 Menlo Park, California 94025
                                      Email: neal.potischman@davispolk.com
    5                                 Telephone: (650) 725-2021
                                      Facsimile: (650) 752-3621
    6
                                      Attorneys for Defendants Universal Television,
    7                                 LLC, James Fallon, and Electric Hot Dog, Inc.
    8
    9                                 McDERMOTT WILL & EMERY LLP
   10                                 By: /s/ Jason D. Strabo                          _
                                          Jason D. Strabo (SBN 246426)
   11                                           Jstrabo@mwe.com
   12                                 2049 Century Park East, Suite 3200
                                      Los Angeles, CA 90067
   13                                 Tel.: (310) 277-4110
   14                                 Attorneys for Defendant Stephen Curry
   15
   16                                 PERKINS COIE LLP
   17                                 By: /s/ Renee E. Rothauge                        _
                                          Renée E. Rothauge
   18
                                      1120 N.W. Couch Street, Tenth Floor
   19                                 Portland, OR 97209-4128
                                      Tel: 503.727.2228
   20                                 Fax: 503.727.2222
                                      RRothauge@perkinscoie.com
   21
                                      Attorneys for Defendants adidas America Inc.
   22                                 and adidas Ventures B.V
   23
   24                                 LATHAM & WATKINS LLP
   25                                 By: /s/ Colleen C. Smith                         _
                                          Colleen C. Smith
   26
                                      Colleen.Smith@lw.com
   27                                 12670 High Bluff Drive
                                      San Diego, CA 92130-3086
   28                                          8
        JOINT STIPULATION AND ORDER FOR AN ENLARGEMENT FOR
        BRIEFING IN RESPONSE TO SECOND AMENDED COMPLAINT         CASE NO. 2:22-cv-08909-FMO-PLA
Case 2:22-cv-08909-FMO-PLA Document 182 Filed 10/24/23 Page 9 of 9 Page ID #:1717



    1                                 Telephone: +1.858.523.5400
    2                                 Perry J. Viscounty
                                      Perry.Viscounty@lw.com
    3                                 650 Town Center Drive, 20th Floor
                                      Costa Mesa, CA 92626-1925
    4                                 Telephone: + 1.714.540.1235
    5                                 Douglas K. Yatter
                                      Douglas.Yatter@lw.com
    6                                 1271 Avenue of the Americas
                                      New York, NY 10020
    7                                 Telephone: +1.212.906.1200
    8                                 Attorneys for Defendants MoonPay USA LLC
                                      and Ivan Soto-Wright
    9
   10
                                      MCDERMOTT WILL & EMERY LLP
   11
                                      By: /s/ Paul W. Hughes                        _
   12                                     Paul W. Hughes
   13                                 Paul W. Hughes (pro hac vice)
                                      phughes@mwe.com
   14                                 Andrew A. Lyons-Berg (pro hac vice)
                                      alyonsberg@mwe.com
   15                                 500 North Capitol Street, NW
                                      Washington, DC 20001-1531
   16                                 Telephone: (202) 756-8981
                                      Facsimile: (202) 591-2784
   17
                                      Tala Jayadevan (SBN 288121)
   18                                 tjayadevan@mwe.com
                                      2049 Century Park East, Suite 3200
   19                                 Los Angeles, CA 90067-3206
                                      Telephone: (310) 284-6148
   20                                 Facsimile: (310) 317-7398
   21                                 Joseph B. Evans (pro hac vice)
                                      jbevans@mwe.com
   22                                 Todd Harrison (pro hac vice)
                                      tdharrison@mwe.com
   23                                 One Vanderbilt Ave
                                      New York, NY 10017
   24                                 Telephone: (212) 547-5767
                                      Facsimile: (646) 417-7672
   25
                                      Attorneys for Defendant Sotheby’s Holdings
   26                                 Inc.
   27
   28                                           9
        JOINT STIPULATION AND ORDER FOR AN ENLARGEMENT FOR
        BRIEFING IN RESPONSE TO SECOND AMENDED COMPLAINT       CASE NO. 2:22-cv-08909-FMO-PLA
